                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 IN RE:                                         )
                                                )
 STEVE SHICKLES, JR.                            ) CASE NO. 19-80155-CRJ-11
 SSN: XXX-XX-4301                               ) CHAPTER 11
                                                )
 RONDA SHICKLES                                 )
 SSN: XXX-XX-0467                               )
                                                )
      Debtors.                                  )


             ORDER APPROVING EXAMINER’S EMERGENCY MOTION
                  TO TAKE 2004 EXAMINATION OF DEBTORS

       This matter came before the Court on February 20, 2019 upon the Emergency Motion to

Take the 2004 Examination of Debtors filed by Stuart M. Maples, Court Appointed Examiner

(the “Motion”)[Doc 132]. Present at the hearing were Stuart M. Maples, Court Appointed

Examiner, Kevin Heard as counsel for Debtors and Richard Blythe as counsel for the Bankruptcy

Administrator. The Court considered the Motion and it is therefore

       ORDERED, ADJUDGED AND DECREED that the Motion is APPROVED and Steve

Shickles, Jr. and Ronda Shickles (“Debtors”) are to submit to an inspection of their home located

at 40 Verdent Circle SE, Huntsville, Madison County, Alabama (the “Property”) by the Court

Appointed Examiner.

       (a)    The Examiner and his paralegal shall conduct the inspection in the company of the
              Debtors and their counsel but without sworn testimony from the Debtors at that
              time;

       (b)    The Examiner and his paralegal shall be granted access to all spaces in the house
              as requested;

       (c)    The Examiner or his paralegal may take identification photographs in his discretion,
              with a view minimizing any invasion of privacy;




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       (d)     The Examiner and his paralegal shall be permitted to inspect, at a minimum, all
               items identified in the Amended Certified Report to the Court and/or the Schedules,
               other than items that are in locations now secured from the Debtors access;

       (e)     The Debtors shall not remove any items from the Property (or any other location)
               other than normal living transactions, and if Debtors have moved any personal
               property post-petition that the items must be returned before the inspection.

       Said examination shall be at a time convenient for all parties and conducted without the

children on the Property.

Dated this the 22nd day of February, 2019.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge


Order prepared by:
/s/ Stuart M. Maples
STUART M. MAPLES, ESQ.




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